            Case: 1:19-cv-05418 Document #: 1 Filed: 08/12/19 Page 1 of 6 PageID #:1         l_*


RECEEVED
                                  UNITED STATES DISTRICT COURT
      ,\!JS 1 Z   Z[$qft          NORTHERN DISTRICT OF ILLINOIS
  TLTOMAS_c. BRUTON
CLERK, U.S. DISTRICT CoURT



                                                Itr-

    (Enter above the full name
    of the plaintiff or plaintiffs in
    this action)
                                                1:19-cv{t541g
                                                Judge Andrea R. Wood
                                                ilagistraE Judge Sidney l. Schenkier




     Enter above the full name of ALL
    defendants in this action. Do not
    use "et al.")




   T
    CHECK ONE ONLY:

                    COMPLAINT UNDER THE CIYIL RTGHTS ACT,TITLE 42 SECTION 1983
                    US. Code (state, county, or municipal defendants)

                    coMpLAINT UNDER TIm CONSTITUTION          ("   BIVBNS * ACTION), TITLE
                    28 SECTION 1331US. Code (federal defendants)

                    OTHER (cite statute, if known)

   BEFORE FILLING OUT THIS COMPIAINT,PLEASE REFERTO *INSTRT]CTIONS FOR
   F ILING.* F OLLOW THESE IN STRU CTION S CAREFA LLY .
      Case: 1:19-cv-05418 Document #: 1 Filed: 08/12/19 Page 2 of 6 PageID #:1
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I.    Plaintiff(s):

      A.        Name:          E/,/L                     6 fircr,
      B.        List all aliases:                           -<ln/lL
      C.        Pri soner      identification numbe

      D.        Place of present confinement:

      E.        Address:

      (If there is more than one plaintiff, then each plaintiff must list his or her name, aliases,I.D.
      number, place of confinement, and current address according to the above format on a
      separate sheet of paper.)

II.   Defendant(s):
      (In A below, place the full name of the first defendant in the first blank, his or her official
      position in the second blank, and his or her place of employment in the third blank. Space
      for two additional defendants is provided in B and C.)

      A.        Defendant:

                Title:



      B.        Defendant:

                Title:                                                      0A-r\-,
                Place     of                                                   D/\)
      C.        Defendant:

                Title:

                Place of Employme                *,              Ll.,       .klahD
      (If you have more than three defendants, then all additional defendants must be listed
      according to the above format on a separate sheet of paper.)




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        AEffB U{BE DEU-EMffiSW        UEIilUE ffilltUtDFgTT    HTDffil DE UEELEUffiESESEE   EiSENSBI qEqff{CEU




III.   List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
       court in the United States:

       A.       Name of case and docket number:


       B.       Approximate date of filing lawsuit:

       C.                                        rladpo-plaintiffs),        including any aliases:
                                                 ilr/

       D.




       E.       Court in which the layEuit yvas filed (if federal court, name the district; if state court,
                name the county):         fe"/grlt
       F.       Name of judge to whom case was assigned:


       c.       Basiccraim
                                  ^ 0", w{a{oA                     utt,rlflilk
       H.       Disposition of this case (for example: Was the case dismissed? Was it appealed?
                Is it still pending?):




                Approximate date of disposition:


IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAYE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO.
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.



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    State here as briefly as possible the facts of your case. Describe how each defendant is
    involved, including names, dates, and places. Do not give any legal arguments or cite any
    cases or statutes. [f you intend to allege a number of related claims, number and set forth
    each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
    if   necessary.)

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v.    Relief:

      State briefly exactly what you want the court to do for you. Make no legal arguments. Cite
      no cases or statutes.




VI.   The plaintiff demands that the case be tried by a jury.



                                                                         CERTIFICATION

                                       By signing this Complaint,      I certify that the facts stated in this
                                       Complaint are true to the best of my knowledge, information and
                                       belief. I understand that if this certification is not correct, I may be
                                       subject to sanctions by the Court.

                                       Signed   this                    day of   _,20



                                       (Signature of plaintiff



                                       (Print name)


                                      (I.D. Number)




                                      (Address)




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